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rate of 21 deaths per 10,000 prisoners, according to data from The Marshall
Project. New Jersey's prison population is about half the size of MDOC.

Statewide, Michigan ranks sixth in the nation in the number of overall COVID-
19 deaths per capita, with four deaths per 10,000 residents, according to The
New York Times.


Calls to release prisoners

Stem said prison systems should do "everything they can to downsize the
population" in light of COVID-19 outbreal<:s.

The Department of Corrections says the parole board is working overtime
to accelerate paroles for eligible prisoners who have reached their earliest
release date.

Prisoner advocates say that's not enough. They continue to call on Gov.
Gretchen Whitmer to use her clemency powers to free elderly and medically
vulnerable prisoners who are not likely to re-offend.

"We don't have the death sentence in Michigan," said Monica Jabner, who is
formerly incarcerated and works with people returning borne from prison
through the Ingham County program Advocacy, Reentry, Resources, and
Outreach.

Gautz pointed out that of the prisoners who have died, about half were serving
life sentences for murder or other serious crimes.

"These are the kind of people that would not have been released under any
sort of executive order that could possibly be envisioned," Gautz said.

Hoe of Safe and Just Michigan points to new research out of the University of
Michigan that suggests prisoners over the age of 50 who were convicted of
violent crimes pose a low risk of recidivism. His group wants Whitmer to use
her clemency powers and expand the parole board to process more releases.
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